                            Case 1:21-cv-00796-RP Document 88 Filed 11/15/21 Page 1 of 2
     RECEIVED
    November 15, 2021
                       IN THE UNITED STATES DISTRICT COURT
  CLERK, U.S. DISTRICT COURT
  WESTERN DISTRICT OF TEXAS

        JMV           FOR THE WESTERN DISTRICT OF TEXAS
BY:_______________________________
                        DEPUTY
                                  AUSTIN DIVISION
    _____________________________________________________________________________
   USA                                   )
                                         )
                     Plaintiff,          )                                       FILED
                                         )                                November 15, 2021
                                                                          CLERK, U.S. DISTRICT COURT
   v.                                    )       No.: 1:21-cv-0796       WESTERN DISTRICT OF TEXAS

                                                                                       JMV
                                         )                            BY: ________________________________
                                                                                              DEPUTY
   Texas                                 )
                                         )
                                         )
                     Defendant           )
   _____________________________________________________________________________

               F. GOMEZ STATUS REPORT ON OUTSTANDING ITEMS OF RECORD AND
                    UNCERTAINTY AS TO 10.18.21 TEXT ORDER GRANTING [79]

                     NOW COMES UNDERSIGNED REPORTING:


   1.                Gomez is unclear as to the import of the 10.18.21 Text Order granting the Texas Motion
                     for Time to Answer [79], in view of the fact it appears this matter itself has not been
                     stayed as a matter of record, albeit the TRO was, unless that is not the case.


   2.                Concomitantly, Gomez reports that the following items of record appear to be “open” and
                     in need of “housekeeping”, including a decision on intervention of undersigned:
                     A.              [85] 10.25.21 Gomez Motion for Time to Reply to USA Response [81]
                     B.              [84] 10.25.21 USA Motion to Stay 21cv796 Pending SCOTUS Decision
                     C.              10.18.21 Text Order Re Gomez E-Filing Request [63] (Email Not Received)
                     D.              [79] 10.15.21 Texas Motion for Time to Answer
                     E.              [62] 10.04.21 Gomez Motion to Intervene


   By:
         Case 1:21-cv-00796-RP Document 88 Filed 11/15/21 Page 2 of 2



I, FELIPE GOMEZ, PRO SE, HEREBY NOTIFY AND CERTIFY THAT I FILED THE FOREGOING STATUS REPORT
WITH THE CLERK OF THE COURT THROUGH THE PRO SE DROP BOX, AND SERVED A COPY TO PLAINTIFF
AND DEFENDANT C/O COUNSEL THOMPSON AND NEWMAN, BY EMAIL TO THE EMAILS LISTED FOR EACH IN
THE DOCKET.
